Case 1:03-cv-01037-.]DT-STA Document 63 Filed 07/13/05 Page 1 of 2 Page|D 84

IN THE UNITED STATES DISTRlCT COURT F l L E
FOR THE WESTERN DISTRICT OF TENNESSEE <- D BY

EASTERN DIVISION "“§;

 

JUL 1 3 2005
Thomas M. Gould, Ctgrk
watech
WILLIAM JOHNSON, ' ' ' flan
Plaintiff,

vs_ No. 03-1037-T/An
DONAL CAMPBELL, et al.,

Defendants.

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ORDER DENYING PETITION TO REHEAR ORDER DENYING
MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintiff filed this pro se complaint under 42 U.S.C. § 1983. On May 23, 2005,
Plaintiff filed a motion for the appointment ofcounsel. The court denied Plaintiff’s motion
in an order entered on June 21, 2005. Plaintiff has now filed a "petition to rehear" the order
denying his motion for the appointment of counsel Judgment Was entered against Plaintiff

on June 27, 2005. Therefore, Plaintiff's petition to rehear is DENIED as moot.

IT IS SO ORDERED this / 7/ day ofJuly, 2005.

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 63 in

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Honorable J ames Todd
US DISTRICT COURT

